Case 1:21-cv-02637-RM-KMT Document 20 Filed 10/20/21 USDC Colorado Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-2637-RM


  Jane DOE, M.D., and John DOE,
         Plaintiffs,
  v.
  The UNIVERSITY OF COLORADO; Donald ELLIMAN,
  Chancellor of the University of Colorado Anschutz, in his official
  capacity; and Shanta ZIMMER, M.D., Senior Associate Dean of
  Medical Education, University of Colorado Anschutz, School of
  Medicine, in her official capacity,
         Defendants.



       DEFENDANTS’ OPPOSITION TO MOTION TO PROCEED ANONYMOUSLY


         Defendants oppose Plaintiffs’ Motion to Proceed Anonymously (ECF #6) on the

  following grounds:

                                          INTRODUCTION

         This lawsuit challenges the constitutionality of the vaccine policy at the University of

  Colorado Anschutz Medical Campus. Pointing to media, online, and late night commentary,

  along with remarks from President Biden, Plaintiffs claim they fear that their identification in

  this lawsuit will expose them to a “top-down, cultural, societal, and legal assault currently

  underway against those who forgo receiving COVID vaccination….” (ECF #6 at 2.)

         But “[l]awsuits are public events.” M.M. v. Zavaras, 139 F.3d 798, 803 (10th Cir. 1998),

  so “[o]rdinarily, those using the courts must be prepared to accept the public scrutiny that is an

  inherent part of public trials,” Femedeer v. Haun, 227 F.3d 1244, 1246 (10th Cir. 2000). Because
Case 1:21-cv-02637-RM-KMT Document 20 Filed 10/20/21 USDC Colorado Page 2 of 7




  Plaintiffs have failed to identify anything suggesting this lawsuit is one of the few exceptions to

  this general rule, the Court should deny Plaintiffs’ motion to proceed anonymously.

                                        LEGAL STANDARD

         “No federal statute or rule of procedure supports the practice” of proceeding

  anonymously in a lawsuit. Phillips v. Austin Police Dep’t, 828 F. App’x 508, 510 (10th Cir.

  2020) (unpublished). “To the contrary, the Federal Rules of Civil Procedure mandate that all

  pleadings contain the name of the parties, see Fed. R. Civ. P. 10(a), and Rule 17(a) specifically

  states that ‘[e]very action shall be prosecuted in the name of the real party in interest.’”

  Femedeer, 227 F.3d at 1246. “However, the Tenth Circuit has recognized three ‘exceptional’

  circumstances in which permitting a party to proceed under a pseudonym is appropriate: (1)

  ‘cases involving matters of a highly sensitive and personal nature,’ (2) cases involving a ‘real

  danger of physical harm,’ or (3) ‘where the injury litigated against would be incurred as a result

  of the disclosure of the plaintiff’s identity.’” Doe v. Berkshire Life Ins. Co. of Am., 2020 WL

  3429152, at *1 (D. Colo. June 23, 2020) (citations omitted). Not surprisingly, given the

  narrowness of these exceptions, “[p]roceeding under a pseudonym in federal court is, by all

  accounts, an unusual procedure.” Femedeer, 227 F.3d at 1246 (quoting Zavaras, 139 F.3d at

  800); see also Lindsey v. Dayton-Hudson Corp., 592 F.2d 1118, 1125 (10th Cir. 1979) (noting

  that “[m]ost of the cases permitting the practice [of proceeding under a pseudonym] have

  involved abortion, birth control, and welfare prosecutions involving abandoned or illegitimate

  children”);. Roe v. Minguela, 2018 WL 4148261, at *11 (D. Colo. Aug. 30, 2018) (granting

  motion by sexual assault victims to proceed under a pseudonym, but warning that should the

  case proceed to trial, the trial would be fully open to the public).


                                                   2
Case 1:21-cv-02637-RM-KMT Document 20 Filed 10/20/21 USDC Colorado Page 3 of 7




                                            ARGUMENT

  I.     Plaintiffs have not identified any “exceptional” circumstance that would permit
         them to proceed anonymously.

         Plaintiffs argue that this case “involves matters of a ‘highly sensitive and personal nature’

   because [they] would otherwise be disclosing to the entire public their personal status as to

   whether they have received a COVID-19 vaccine….” (ECF #6 at 2.) In particular, they point to

   the “top-down, cultural, societal, and legal assault currently underway against those who forgo

   receiving COVID vaccination, especially in the health care industry.” (ECF #6 at 2.) This is not

   enough. In general, the impact of even sensitive medical information on one’s professional

   reputation is insufficient to support an anonymous filing. See Berkshire Life Ins. Co. of Am.,

   2020 WL 3429152, at *2 (finding that plaintiff’s mental illness, even if arguably socially

   stigmatized and “viewed in the context of his former position as president and CEO of a

   nationwide business,” was “insufficient to constitute an ‘exceptional’ circumstance warranting

   leave to proceed anonymously”). And in the vaccine context more specifically, one court has

   rejected a motion to proceed anonymously made by military affiliates who opposed the

   Department of Defense anthrax vaccine program, finding that their fear of being “labeled

   unpatriotic,” among other things, for objecting to the vaccine was not enough. Doe v. Von

   Eschenbach, 2007 WL 1848013, at *1-2 (D.D.C. June 27, 2007).

         Plaintiffs further contend that their “[i]dentification would pose a substantial risk of

   retaliatory physical or mental harm to [them] and their families in part given the explicit death

   threats and ‘terrorist’ labels being hurled at those who are forgoing the vaccines.” (ECF #6 at 2.)

   This purported fear is based on media, online, and late night show comments, as well as

   comments by President Biden taken out of context, about those who decline the vaccine. (ECF

                                                   3
Case 1:21-cv-02637-RM-KMT Document 20 Filed 10/20/21 USDC Colorado Page 4 of 7




      #6 at 2-3.) None of these comments is about Plaintiffs or this lawsuit. Indeed, cases challenging

      the COVID-19 vaccine mandates have been prosecuted by named plaintiffs all across the

      country. 1 And there are no reports of any of those plaintiffs being attacked or placed in danger.

      Without “any evidence that reflects disapproval of the instant lawsuit within the relevant

      community or suggests they would be the target of actual threats, harassment, or retaliation,”

      Plaintiffs have, at best, pointed to “unsubstantiated potential for an adverse public reaction[,

      which] does not establish a compelling reason to depart from the requirements of Rule 10(a).”

      Freedom from Religion Found., Inc. v. Cherry Creek Sch. Dist. #5, 2009 WL 2176624, at *6

      (D. Colo. July 22, 2009) (citing Doe v. Kamehameha Schs./Bernice Pauahi Bishop Estate, 2008

      WL 4755674, at *4 (D. Haw. 2008) (concluding that “news articles about physical attacks …

      not connected to any of the parties in this action, nor … involv[ing] threats against anyone

      challenging Defendants’ admissions policy … are not evidence of threats against Plaintiffs”)).

  II.       The public interest weighs in favor of requiring Plaintiffs to identify themselves.

            “[T]he public has an important interest in access to legal proceedings.” Femedeer, 227

      F.3d at 1246. See also Doe v. FBI, 218 F.R.D. 256, 258 (D. Colo. 2003) (“Courts are public

      institutions which exist for the public to serve the public interest.”). Despite this precedent,

      Plaintiffs argue that “[t]here is a uniquely weak public interest in knowing the litigants’

      identities here because this case involves purely legal issues,” namely the constitutionality of




  1
   See, e.g., Maniscalco v. New York City Dep’t of Educ., 2021 WL 4344267, at *1 (E.D.N.Y.
  Sept. 23, 2021), aff’d, 2021 WL 4814767 (2d Cir. Oct. 15, 2021); Valdez v. Grisham, 2021 WL
  4145746, at *2 (D.N.M. Sept. 13, 2021); Harris v. Univ. of Massachusetts, Lowell, 2021 WL
  3848012, at *1 (D. Mass. Aug. 27, 2021); Klaassen v. Trustees of Indiana Univ., 2021 WL
  3073926, at *2 (N.D. Ind. July 18, 2021).

                                                       4
Case 1:21-cv-02637-RM-KMT Document 20 Filed 10/20/21 USDC Colorado Page 5 of 7




   “the COVID-19 vaccine mandate promulgated by the University.” (ECF #6 at 4.) But if

   anything, the broad nature of Plaintiffs’ challenge weighs against allowing Plaintiffs to proceed

   anonymously. For example, considering the constitutionality of a sex offender registration

   statute, the Tenth Circuit observed that “the public has an important interest in access to legal

   proceedings, particularly those attacking the constitutionality of popularly enacted legislation.”

   Femedeer, 227 F.3d at 1246.

         Plaintiffs further argue that Defendants “are not prejudiced by allowing Plaintiffs to sue

  anonymously.” (ECF #6 at 4.) Not so. The Tenth Circuit has noted that proceeding anonymously

  “obviously may cause problems to defendants engaging in discovery and establishing their

  defenses, and in fixing res judicata effects of judgments.” Coe v. U.S. Dist. Ct. for Dist. of

  Colorado, 676 F.2d 411, 415 (10th Cir. 1982). If Plaintiffs’ motion is granted, Defendants must

  defend themselves publicly, while Plaintiffs make their accusations “from behind a cloak of

  anonymity.” Doe v. Merck & Co., Inc., 2012 WL 555520, at *3 (D. Colo. Feb. 17, 2012)

  (citation omitted). This runs contrary to “[b]asic fairness, [which] requires that where a plaintiff

  makes [serious allegations of deliberate wrongdoing] publicly, he should stand behind those

  accusations….” Doe v. Heitler, 26 P.3d 539, 543 (Colo. App. 2001) (quoting Doe v. Ind. Black

  Expo, Inc., 923 F. Supp. 137, 141-42 (S.D. Ind. 1996)).

         Finally, Plaintiffs posit that “[i]n this cultural climate, requiring [them] to disclose their

  identities would create the significant possibility that blatantly unconstitutional rules like the one

  … here would go unchallenged in the judiciary and incentivize even more obviously

  unconstitutional policies in this and other states.” (ECF #6 at 4.) As argued in Defendants’

  opposition to Plaintiffs’ motion for a preliminary injunction (ECF #15), the policy at issue is not


                                                    5
Case 1:21-cv-02637-RM-KMT Document 20 Filed 10/20/21 USDC Colorado Page 6 of 7




  unconstitutional. But more to the point here, this speculation provides no basis to excuse

  Plaintiffs from identifying themselves. To the contrary, “when courts require litigants to use real

  names, they encourage suits by the most zealous, passionate, and sincere litigants, those who are

  willing to place their personal and public stamp of approval upon their causes of action … which

  is in the interest of both the public and the courts.” Qualls v. Rumsfeld, 228 F.R.D. 8, 13 (D.D.C.

  2005).

           WHEREFORE, Defendants respectfully request that the Court deny Plaintiffs’ motion

  and order them to identify themselves.

           DATED: October 20, 2021.

                                           Respectfully submitted,

                                           s/ Hermine Kallman
                                           Hermine Kallman
                                           Senior Assistant University Counsel
                                           Special Assistant Attorney General
                                           University of Colorado, Office of
                                           University Counsel
                                           1800 Grant Street, Suite 700
                                           Denver, CO 80203
                                           303-860-5691
                                           Hermine.Kallman@cu.edu
                                           Attorney for Defendants




                                                   6
Case 1:21-cv-02637-RM-KMT Document 20 Filed 10/20/21 USDC Colorado Page 7 of 7




                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 20, 2021, I electronically filed the foregoing with the
  Court’s electronic filing system (CM/ECF) which will automatically cause notification to be sent
  to the following counsel of record:

  Peter Breen
  Martin Whittaker
  Thomas More Society
  309 W. Washington, Suite 1250
  Chicago, IL 60606

  Michael McHale
  Thomas More Society
  10506 Burt Circle, Ste. 110
  Omaha, NE 68114

  Joseph Brown
  Theresa Lynn Sidebotham
  Telios Law PLLC
  19925 Monument Hill Dr.
  Monument, CO 80132

  Counsel for Plaintiffs
                                                     s/ Linda Ruth Carter
                                                     Linda Ruth Carter, Paralegal




                                                 7
